      Case 24-70089-swe11                                  Doc 192 Filed 09/17/24 Entered 09/17/24 08:57:36            Desc
                                                             Main Document     Page 1 of 2




The following constitutes the ruling of the court and has the force and effect therein described.



Signed September 16, 2024
                                           United States Bankruptcy Judge
______________________________________________________________________




                                                      UNITED STATES BANKRUPTCY COURT
                                                        NORTHERN DISTRICT OF TEXAS
                                                           WICHITA FALLS DIVISION

         IN RE:                                                                            §
                                                                                           §
         HIGH PLAINS RADIO NETWORK, LLC,                                                   §   CASE NO. 24-70089-swe
                                                                                           §     (Chapter 11, SubV)
                       DEBTOR.                                                             §
                                                                                           §

                    ORDER GRANTING MOTION TO EXTEND SEC. 365(D)(4) INITIAL
                    LEASE DETERMINATION DEADLINE (DOCKET NO. 172)

            On this date the Court considered Motion to Extend Sec. 365(d)(4) Initial Lease
      Determination Deadline (Docket No. 172) (the “Motion to Extend”) filed herein on September 11,
      2024 by High Plains Radio Network, LLC, debtor and debtor-in-possession (“HPRN” or the
      “Debtor”).

             The Court finds and concludes that the Debtor has provided good and sufficient notice of
      the Motion to Extend and of the expedited hearing.

              The Court finds and concludes that the Debtor has demonstrated that the extension sought
      in the Motion to Extend is attributable to circumstances for which the Debtor should not justly be
      held accountable.

                    IT IS THEREFORE ORDERED THAT:

                    1.            The Motion to Extend is GRANTED as set forth herein.

      ORDER GRANTING MOTION TO EXTEND SEC. 365(D)(4) INITIAL LEASE DETERMINATION DEADLINE
      (DOCKET NO. 172) — Page 1
      Order granting mtn to ext [172] 4875-5732-2211 v.1.docx [1] / 4875-5732-2211, v. 1
Case 24-70089-swe11                                  Doc 192 Filed 09/17/24 Entered 09/17/24 08:57:36   Desc
                                                       Main Document     Page 2 of 2



              2.            Capitalized terms not otherwise defined herein shall have the same meaning as
                            ascribed to such terms in the Motion.

              3.            The initial period of time by which the Debtor must assume or reject leases of
                            nonresidential real property pursuant to 11 U.S.C. §365(d)(4) is hereby extended
                            for a period of ninety (90) days, through and until October 22, 2024.

              4.            This Order is without prejudice to the Debtor seeking additional potential
                            extensions by subsequent motion and opportunity for a hearing.

                                                                   ###END OF ORDER###

Submitted by:
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ORDER GRANTING MOTION TO EXTEND SEC. 365(D)(4) INITIAL LEASE DETERMINATION DEADLINE
(DOCKET NO. 172) — Page 2
Order granting mtn to ext [172] 4875-5732-2211 v.1.docx [1] / 4875-5732-2211, v. 1
